Case: 25-1477   Document: 00118297250       Page: 1     Date Filed: 06/09/2025   Entry ID: 6727301



                                          25-1477
                   United States Court of Appeals
                        for the First Circuit

                             STATE OF RHODE ISLAND, et al.,

                                                            Plaintiffs-Appellees,

                                                v.

                   DONALD J. TRUMP, in his official capacity, et al.,

                                                            Defendants-Appellants.



                   On Appeal from the United States District Court
                          for the District of Rhode Island


                 MEMORANDUM OF LAW IN OPPOSITION TO
                   MOTION FOR STAY PENDING APPEAL


      PETER F. NERONHA                           LETITIA JAMES
      Attorney General of Rhode Island            Attorney General of New York
      150 South Main Street                      28 Liberty Street
      Providence, Rhode Island 02903             New York, New York 10005
                                                 (212) 416-6347
      ANNE E. LOPEZ
      Attorney General of Hawai‘i
      425 Queen Street
      Honolulu, Hawai‘i 96813                    Dated: June 9, 2025

                        (See signature pages for complete counsel listing.)
Case: 25-1477       Document: 00118297250              Page: 2       Date Filed: 06/09/2025            Entry ID: 6727301




                                         TABLE OF CONTENTS

                                                                                                            Page

      INTRODUCTION ...................................................................................... 1

      BACKGROUND ........................................................................................ 3

               A.    The Dismantling of Three Congressionally Created
                     Agencies ..................................................................................... 3

               B.    Proceedings in the District Court ............................................. 6

      ARGUMENT ............................................................................................. 9

         I.    DEFENDANTS ARE UNLIKELY TO SUCCEED ON THE MERITS
         OF THEIR APPEAL ................................................................................... 9

               A.    Defendants’ Jurisdictional Arguments Lack Merit. .............. 10

                     1.    Plaintiffs have standing .................................................. 10

                     2.    The Tucker Act does not divest the district court of
                           jurisdiction ....................................................................... 12

                     3.    The Civil Service Reform Act does not divest the
                           district court of jurisdiction ............................................. 16

               B.    Defendants’ Actions Are Subject to Review Under the
                     Administrative Procedure Act. ............................................... 18

               C.    Defendants’ Actions Are Likely Unconstitutional. ................ 22

         II.         DEFENDANTS HAVE NOT SHOWN IRREPARABLE INJURY ............ 24

         III.        THE REMAINING FACTORS WEIGH STRONGLY AGAINST A STAY ..... 26

      CONCLUSION ........................................................................................ 27
Case: 25-1477   Document: 00118297250   Page: 3   Date Filed: 06/09/2025   Entry ID: 6727301




                                  INTRODUCTION

            Defendants are not entitled to the “extraordinary remedy,” Nken v.

      Holder, 556 U.S. 418, 428 (2009), of a stay pending appeal. Plaintiff

      States challenge defendants’ attempts to dismantle three federal agencies—

      the Institute of Museum and Library Services (IMLS), the Minority

      Business and Development Agency (MBDA), and the Federal Mediation

      and Conciliation Service (FMCS)—without congressional approval or any

      reasoned explanation.1 The U.S. District Court for the District of Rhode

      Island (McConnell, J.) issued a preliminary injunction order specifically

      tailored to undo defendants’ unlawful actions and to prevent defendants

      from attempting to unlawfully implement the executive order and dismantle




            1 Plaintiffs-appellees are the States of Arizona, California, Colorado,

      Connecticut, Delaware, Hawai‘i, Illinois, Maine, Maryland, Massachusetts,
      the People of the State of Michigan, Minnesota, Nevada, New Jersey,
      New Mexico, New York, Oregon, Rhode Island, Vermont, Washington,
      and Wisconsin. Defendants-appellants are IMLS, MBDA, FMCS, the Office
      of Management and Budget (OMB), Keith E. Sonderling, in his official
      capacity as Acting Director of IMLS, Madiha D. Latif, in her official capacity
      as Deputy Under Secretary of Commerce for Minority Business Development,
      Howard Lutnick, in his official capacity as Secretary of Commerce,
      Gregory Goldstein, in his official capacity as Acting Director of FMCS,
      Russell T. Vought, in his official capacity as Director of OMB, and Donald
      J. Trump, in his official capacity as President of the United States.
Case: 25-1477   Document: 00118297250   Page: 4   Date Filed: 06/09/2025   Entry ID: 6727301




      the agencies again during the pendency of this case. This Court should

      decline to stay the preliminary injunction.

            First, defendants are unlikely to succeed on the merits of their

      appeal. Defendants barely defend the legality of their actions, instead

      raising arguments against judicial review of those actions. Defendants

      contend that plaintiffs lack standing, that plaintiffs’ claims are precluded

      by statute, that defendants’ actions are unreviewable under the Adminis-

      trative Procedure Act (APA), and that defendants’ statutory violations

      cannot give rise to a constitutional claim. The district court rejected each

      of these arguments and defendants identify no error in the district court’s

      thorough, well-reasoned opinion.

            Second, defendants cannot show irreparable harm from an order

      that seeks to undo and to prevent future unlawful action. And they do

      not meaningfully dispute the evidence of irreparable harm that plaintiffs

      have experienced and would continue to experience absent injunctive

      relief. For similar reasons, the public interest is best served by ensuring

      that the agencies continue to function in accordance with statutory and

      constitutional mandates while this litigation proceeds.




                                           2
Case: 25-1477   Document: 00118297250   Page: 5   Date Filed: 06/09/2025   Entry ID: 6727301




                                   BACKGROUND

      A.    The Dismantling of Three Congressionally Created Agencies

            This case involves three federal agencies, each of which serve

      critical and statutorily mandated functions.

            First, IMLS supports museums and libraries across the United

      States by disbursing federal funds and providing other forms of technical

      assistance. See 20 U.S.C. §§ 9121-9165, 9171-9176. (Compl. ¶ 56 (Apr. 4,

      2025), ECF No. 1.) Second, MBDA is responsible for facilitating the

      growth of minority businesses through various forms of assistance. See

      15 U.S.C. §§ 9522, 9523(a)(1)-(3). (Compl. ¶ 89.) Finally, FMCS is respon-

      sible for “assist[ing] parties to labor disputes in industries affecting

      commerce to settle such disputes through conciliation and mediation.” 29

      U.S.C. § 173(a). For the 2025 fiscal year, Congress appropriated $294,800,000

      to IMLS, $68,250,000 to MBDA, and $53,705,000 to FMCS. See Full-Year

      Continuing Appropriations and Extensions Act 2025 §§ 1101(a)(2), (8),

      Pub. L. No. 119-4, 139 Stat. 9 (2025).

            On March 14, 2025, just one day before signing the Continuing

      Appropriations Act, the President issued an executive order that directed

      seven federal agencies, including IMLS, MBDA, and FMCS, to dramatically


                                           3
Case: 25-1477   Document: 00118297250   Page: 6   Date Filed: 06/09/2025   Entry ID: 6727301




      curtail their operations. See Exec. Order No. 14,238, Continuing the

      Reduction of the Federal Bureaucracy § 2(a) (Mar. 14, 2025), 90 Fed. Reg.

      13043 (“Reduction EO”). The agencies were ordered to eliminate all “non-

      statutory components and functions . . . to the maximum extent consistent

      with applicable law,” and to “reduce the performance of their statutory

      functions and associated personnel to the minimum presence and function

      required by law.” Id. The order also instructed OMB to deny the agencies

      authorization to spend federal funds for any functions beyond the

      minimum required by statute. See id. § 2(c). All of the targeted agencies

      were required to report within one week that they had achieved “full

      compliance” with the Reduction EO. Id. § 2(b).

            Before the Reduction EO, IMLS had a staff of approximately

      seventy-seven employees. (Compl. ¶ 65.) Within weeks, IMLS’s staff was

      cut to “a skeleton crew” of twelve. (Id. ¶ 69.) The agency told employees

      that the agency would be “stripped down to the studs” (ECF No. 3-40 ¶ 6),

      and notified state librarians that “all [IMLS] staff are going to be placed

      on administrative leave” (Compl., Ex. B (Mar. 31, 2025), ECF No. 1-2). In

      just one day, IMLS terminated over 1,000 grants—each termination




                                           4
Case: 25-1477   Document: 00118297250   Page: 7   Date Filed: 06/09/2025   Entry ID: 6727301




      containing a generic statement citing the Reduction EO as its justifica-

      tion. (See ECF No. 35-3 ¶ 5.)

             Following the Reduction EO, MBDA placed nearly all of its staff on

      administrative leave and notified employees that it was “abolishing all

      the” forty-nine positions in the agency. (ECF No. 35-4 ¶ 4; Compl. ¶ 96.)

      Left virtually without staff, MBDA (i) terminated all preexisting grant

      awards, (ii) ceased posting new grant solicitations, (iii) stopped collecting

      data or engaging in required communications with MBDA centers, and

      (iv) could not staff a regional office for each region of the country as

      required by statute. 15 U.S.C. § 9502(e)(2)(A). (See ECF No. 3-41 ¶¶ 9-

      14.)

             Similarly, FMCS placed nearly all of its employees on administrative

      leave after the Reduction EO, and announced that it would cease “all Public

      Sector work” as of April 18, 2025. (Compl. ¶¶ 130, 134; ECF No. 1-4.)




                                           5
Case: 25-1477   Document: 00118297250   Page: 8   Date Filed: 06/09/2025   Entry ID: 6727301




      B.    Proceedings in the District Court

            In April 2025, plaintiff States filed this action and moved for a

      preliminary injunction to enjoin defendants’ implementation of the

      Reduction EO.2

            In support, plaintiffs submitted dozens of declarations explaining

      the steps that defendants have taken to dismantle IMLS, MBDA, and

      FMCS, and cataloguing how States have been or will be harmed in

      consequence. For example, the drastic cuts at IMLS resulted in the

      termination of grants to numerous States (see ECF Nos. 3-3, 3-4, 3-34);

      disrupted state library programs (ECF No. 3-3); jeopardized plaintiffs’

      abilities to hire and pay staff (ECF Nos. 3-3, 35-1); and delayed important

      state projects (ECF No. 35-6). Similarly, many States reliant on MBDA

      grants had their grants terminated, which inflicted harm such as displacing

      students and staff (ECF Nos. 3-11 ¶¶ 16-17); halting essential programs

      (ECF No. 3-12 ¶¶ 20-22); and impeding contractual responsibilities (ECF

      No. 3-10 ¶¶ 16-17). Finally, eliminating FMCS’s public-sector services

      harmed plaintiff States, including by preventing States from using FMCS



            2 Plaintiffs initially moved for a temporary restraining order, which

      was converted to a preliminary injunction. (See ECF No. 31.)
                                           6
Case: 25-1477   Document: 00118297250    Page: 9   Date Filed: 06/09/2025   Entry ID: 6727301




      to resolve ongoing labor disputes (ECF No. 3-26 ¶ 21); making future

      work stoppages in the States more likely (ECF No. 44-2 ¶ 15); and

      frustrating State laws and collective bargaining agreements that require

      use of FMCS services (ECF No. 3-39 ¶ 7).

            Following briefing and oral argument, the district court concluded

      in a thorough forty-nine-page decision that plaintiffs were entitled to a

      preliminary injunction to prevent defendants from dismantling the three

      agencies at issue. (See Mem. & Order (Mem.) (May 6, 2025), ECF No. 57.)

      The district court found that plaintiffs had standing (see id. at 11), that

      the claims were ripe for judicial review (id. at 12-14), and that the court

      had jurisdiction over plaintiffs’ claims, including where those claims

      implicated grant disbursements (id. at 14-18) and mass reductions in

      force (id. at 18-21). On the merits, the district court ruled that defendants’

      actions were reviewable under the APA (id. at 21-26), were likely arbitrary

      and capricious (id. at 26-31), contrary to law (id. at 31-39), and unconstitu-

      tional (id. at 39-40). The district court also held that plaintiffs established

      irreparable harm (id. at 41-45) and that the balance of the equities and

      public interest weighed in favor of injunctive relief (id. at 46-47).




                                            7
Case: 25-1477   Document: 00118297250   Page: 10   Date Filed: 06/09/2025   Entry ID: 6727301




            The district court entered a preliminary injunction order that

       incorporated revisions to the wording of the order proposed by each side.

       The order directed defendants to, among other things, (i) reverse actions

       taken to implement the Reduction EO with respect to the three agencies;

       (ii) restore employees and personal service contractors who were involun-

       tarily placed on leave or terminated due to the Reduction EO’s implementa-

       tion; and (iii) resume processing, disbursing, and paying funds to recipients

       in plaintiff States that were stalled or terminated because of the Reduction

       EO. (See ECF No. 60.)

            Defendants moved for a stay pending appeal in the district court,

       relying on purportedly new information not previously presented to the

       district court. (See ECF No. 63.) The district court denied defendants’

       motion, explaining that the injunction was entered after all parties had

       the opportunity “to comment and to propose edits,” was “narrowly limited

       to only the statutory and constitutional violations” shown, and “simply

       required the Defendants to follow Congressionally mandated programs

       and funding.” (Order at 6-7 (June 5, 2025), ECF No. 67.)




                                            8
Case: 25-1477   Document: 00118297250    Page: 11   Date Filed: 06/09/2025   Entry ID: 6727301




                                        ARGUMENT

            To obtain a stay pending appeal, the defendants must: “(1) make a

       strong showing that they are likely to succeed on the merits in their

       appeal; (2) show that they will be irreparably injured absent a stay;

       (3) show that issuance of the stay will not substantially injure the other

       parties interested in the proceeding; and (4) show that the stay would

       serve the public interest.” New York v. Trump, 133 F.4th 51, 65 (1st Cir.

       2025) (quotation and alteration marks omitted). Of the four factors, the

       first two—likelihood of success and irreparable injury—“are the most

       critical.” Id. at 66 (quotation marks omitted). Defendants have failed to

       show that any of the four factors favor a stay.


           I.   DEFENDANTS ARE UNLIKELY TO SUCCEED ON THE MERITS
                OF THEIR APPEAL

            Contrary to defendants’ contention, plaintiffs have standing, and

       neither the Tucker Act nor the Civil Service Reform Act (CSRA) bars

       plaintiffs’ claims. As for the merits of plaintiffs’ claims, defendants argue

       that they have not engaged in a reviewable agency action, but do not even

       attempt to rebut plaintiffs’ showing that their actions are contrary to law

       and arbitrary and capricious. And although defendants dispute the scope


                                             9
Case: 25-1477    Document: 00118297250   Page: 12   Date Filed: 06/09/2025   Entry ID: 6727301




       of the injunction, they themselves requested the precise language to

       which they now object, and do not propose alternative relief sufficient to

       redress plaintiffs’ injuries.


       A.   Defendants’ Jurisdictional Arguments Lack Merit.

            1.    Plaintiffs have standing

             To demonstrate Article III standing, plaintiffs must show that

       (i) they suffered an injury in fact, (ii) likely caused by the defendants, and

       (iii) likely redressable by judicial relief. Wiener v. MIB Grp., Inc., 86 F.4th

       76, 84 (1st Cir. 2023). Here, the unrefuted evidence demonstrated that

       plaintiffs receive critical funds and services directly from IMLS, MBDA,

       and FMCS, and that defendants’ actions have resulted in numerous

       actual and imminent injuries to plaintiffs, including the loss of awarded

       funding, the termination of trusted mediation services critical to resolv-

       ing public-sector labor disputes, and disruptions in state library services.

       (Mem. at 13-14, 41-45.)

             Defendants’ arguments against standing before this Court (Mot. at

       7-9) differ from the ones they made below (see ECF No. 41), and in any

       event ignore the district court’s factual findings. The overwhelming

       record evidence disproves the assertion (Mot. at 8) that plaintiffs’ injuries

                                             10
Case: 25-1477   Document: 00118297250   Page: 13   Date Filed: 06/09/2025      Entry ID: 6727301




       are “abstract,” Raines v. Byrd, 521 U.S. 811, 829 (1997), or “divorced from

       any concrete harm,” Spokeo, Inc. v. Robins, 578 U.S. 330, 341 (2016). The

       challenged actions caused (among other things) the Maine State Library

       to close its doors for two weeks (ECF No. 44-1 ¶¶ 9-10), threatened to

       displace employees and students in Hawai‘i (ECF No. 3-11 ¶¶ 16-17), and

       “dramatically increased the risk of an imminent work stoppage—with

       life-and-death consequences—at the busiest medical center in” Rhode

       Island (ECF No. 44-2 ¶ 15). Plaintiffs thus do not assert generalized

       grievances (Mot. at 8) about the separation of powers, but cite concrete

       harms caused by defendants’ actions. And defendants “have submitted

       no evidence to support a contrary” factual finding. Somerville Pub. Schs.

       v. McMahon, No. 25-1495, 2025 WL 1576570, at *2 (1st Cir. June 4, 2025).3



            3 To be sure, a district court in the Fourth Circuit has held that

       plaintiff States lack standing to challenge an agency’s staff reductions
       based on alleged future harm. See Maryland v. Corporation for Nat’l &
       Cmty. Serv., No. 25-cv-01363, 2025 WL 1585051, at *20-22 (D. Md. June
       5, 2025). Plaintiffs disagree that the harm alleged in that case was specula-
       tive or attenuated. But, in any event, the district court here made detailed
       factual findings based on “compelling evidence illustrating that the
       harms stemming from the dismantling of IMLS, MBDA, and FMCS are
       already unfolding or are certain to occur.” (Mem. at 13-14.) While Maryland
       noted that a nonspecific challenge to agency dismantling is not subject to
       judicial review, here plaintiffs are challenging “a discrete, categorical
                                                                 (continued on the next page)


                                            11
Case: 25-1477    Document: 00118297250   Page: 14   Date Filed: 06/09/2025   Entry ID: 6727301




            Equally meritless is defendants’ conclusory objection that the

       preliminary injunction “awards relief plaintiffs lack standing to pursue.”

       Mot. at 8-9. Defendants identify no such relief. Moreover, defendants’

       complaints about the purported breadth of the order ring hollow because

       the district court “accepted all the Defendants’ suggestions for ensuring

       that the injunction was narrowly drafted.” (Order at 3 n.2.)


            2.    The Tucker Act does not divest the district court
                  of jurisdiction

            Contrary to defendants’ contention (Mot. at 12-15), the Tucker Act

       does not divest federal courts of jurisdiction to hear plaintiffs’ claims. As

       the district court properly found, the Supreme Court’s brief emergency-

       docket order in Department of Education v. California, 145 S. Ct. 966

       (2025), “does not render [the district court] an improper forum” for

       plaintiffs’ APA claims. (Mem. at 15.)

            California is not a ruling on the merits, see Merrill v. Milligan, 142

       S. Ct. 879, 879 (2022) (Kavanaugh, J., concurring), and did not purport

       to disturb well-settled law channeling contract disputes to the Court of




       policy” (Mem. at 22)—similar to the actions that Maryland found “ripe
       for judicial review,” 2025 WL 1585051, at *13.
                                            12
Case: 25-1477   Document: 00118297250    Page: 15    Date Filed: 06/09/2025   Entry ID: 6727301




       Federal Claims. (Mem. at 15-16.) Before California and now, a claim falls

       within the Tucker Act’s exclusive jurisdiction if it “is at its essence a

       contract claim.” See Megapulse, Inc. v. Lewis, 672 F.2d 959, 967 (D.C. Cir.

       1982); California v. U.S. Dep’t of Educ., 132 F.4th 92, 96-97 (1st Cir.

       2025). The “longstanding test” for evaluating a claim’s essential character

       under the Tucker Act hinges on (i) “the source of the rights upon which

       the plaintiff bases its claims” and (ii) “the type of relief sought.” Crowley

       Gov’t Servs., Inc. v. Gen. Servs. Admin., 38 F.4th 1099, 1106 (D.C. Cir.

       2022). As California reiterated, “a district court’s jurisdiction ‘is not barred

       by the possibility’ that an order setting aside an agency’s action may

       result in the disbursement of funds.” 145 S. Ct. at 968 (quoting Bowen v.

       Massachusetts, 487 U.S. 879, 910 (1988)).

             Here, the district court correctly found (Mem. at 16) that plaintiffs’

       claims do not arise from a contract dispute. A close review of plaintiffs’

       complaint and the record confirms the district court’s conclusions. The

       legal rights on which plaintiffs base their claims “exist[ed] prior to and

       apart from rights created under” grant agreements or any other contract

       with the federal government. See Crowley, 38 F.4th at 1107 (quotation

       marks omitted). Moreover, the challenged grant terminations comprised


                                             13
Case: 25-1477   Document: 00118297250   Page: 16   Date Filed: 06/09/2025   Entry ID: 6727301




       only one facet of defendants’ demolition campaign at the agencies. With

       respect to FMCS, plaintiffs’ harms did not stem from grant terminations

       at all but from eliminating agency programs and dismantling key agency

       functions. (See ECF Nos. 3-32, 3-45.) Likewise, the harms from gutting

       MBDA manifested primarily in the agency’s inability to perform its

       statutory functions, service existing MBDA centers, and issue new grant

       solicitations. (See ECF Nos. 3-10, 3-11, 3-41.) And grantmaking aside,

       IMLS could no longer perform research and data collection as required

       by statute. (See Compl. ¶ 83.)

            That plaintiffs cite grant terminations as one component of harm

       does not transform this action into a contract dispute and thereby deprive

       the district court of jurisdiction it otherwise has. See Megapulse, 672 F.2d

       at 968; Crowley, 38 F.4th at 1106-07. Whatever the grant terms stipulate,

       defendants do not assert that they can (or do) supplant the statutory and

       constitutional duties underpinning plaintiffs’ claims. See Widakuswara

       v. Lake, No. 25-5144, 2025 WL 1288817, at *10 (D.C. Cir. May 3) (Pillard,

       J., dissenting from grant of stay), stay pending appeal denied, 2025 WL

       1521355, at *1 (D.C. Cir. May 28, 2025) (en banc) (the government “has

       not made the requisite ‘strong showing’ of a likelihood of success” on its


                                           14
Case: 25-1477    Document: 00118297250   Page: 17   Date Filed: 06/09/2025   Entry ID: 6727301




       Tucker Act argument “substantially for the reasons explained by Judge

       Pillard”). Moreover, defendants do not dispute that the Court of Federal

       Claims would be incapable of affording plaintiffs the equitable relief they

       seek, or that plaintiffs’ constitutional claims are properly before the federal

       courts.

             Unsurprisingly, defendants cite no case applying California to oust

       a district court of jurisdiction over claims similar to those that plaintiffs

       assert. The cases defendants cite (Mot. at 13) involve claims expressly

       framed as breaches of contract, Boaz Hous. Auth. v. United States, 994

       F.3d 1359, 1363 (Fed. Cir. 2021), or, equivalently, “turn[ ] entirely on the

       terms of a contract,” Albrecht v. Committee on Emp. Benefits of Fed. Rsrv.

       Emp. Benefits Sys., 357 F.3d 62, 69 (D.C. Cir. 2004). By contrast, the

       district court’s holding accords with a growing number of district courts

       in this Circuit to analyze California and reject the broad interpretation

       that defendants advance. 4




             4 See, e.g., Association of Am. Univs. v. Department of Energy, No.

       25-cv-10912, 2025 WL 1414135, at *6 (D. Mass. May 15, 2025); Massachusetts
       v. Kennedy, No. 25-cv-10814, 2025 WL 1371785, at *7-9 (D. Mass. May
       12, 2025); see also Maryland, 2025 WL 1585051, at *27.
                                             15
Case: 25-1477    Document: 00118297250   Page: 18   Date Filed: 06/09/2025   Entry ID: 6727301




            3.    The Civil Service Reform Act does not divest the
                  district court of jurisdiction

            Defendants are also wrong to argue (Mot. at 15-17) that the CSRA

       precludes the district court from ordering the reinstatement of agency

       personnel to remedy plaintiffs’ harms. The CSRA provides an avenue for

       “federal employees” who seek to challenge an employment decision. Mot.

       at 15-16. See Somerville Pub. Schs., 2025 WL 1576570, at *4. The district

       court correctly concluded that the CSRA does not bar plaintiffs’ claims.

       (See Mem. at 18-20.) Plaintiffs did not ask the court to review the

       propriety of employment actions; they alleged that defendants used mass

       terminations as a tool to dismantle the agencies.

            As the district court noted, accepting defendants’ preclusion

       argument under the CSRA would mean foreclosing all meaningful judicial

       review over all claims about agency action that involve personnel

       decisions (Mem. at 19). See American Fed’n of Gov’t Emps., AFL-CIO v.

       Trump, No. 25-cv-3698, 2025 WL 1358477, at *15 (N.D. Cal. May 9,

       2025). Defendants do not dispute this result, but suggest it counsels in

       favor of preclusion. See Mot. at 17. That position is “contrary to common

       sense,” Community Legal Servs. in E. Palo Alto, No. 25-2808, 2025 WL

       1393876, at *3 (9th Cir. May 14, 2025), and “patently absurd,” Wiley v.

                                            16
Case: 25-1477   Document: 00118297250   Page: 19   Date Filed: 06/09/2025   Entry ID: 6727301




       Kennedy, No. 2:25-cv-227, 2025 WL 1384768, at *11 (S.D. W. Va. May 13,

       2025). This Court has rejected the “self-defeating” notion that the CSRA

       was “intended to bar every challenge to an unlawful effort by the

       Executive to shut down a statutorily created agency by summarily firing

       its employees en masse . . . except for those specific challenges that the

       terminated employees themselves may choose to bring.” Somerville Pub.

       Schs., 2025 WL 1576570, at *4.

            Additionally, it is undisputed that plaintiffs’ claims do not call for

       any expertise relevant to adjudging employee grievances under the

       CSRA. (Mem. at 20.) And plaintiffs’ claims are “‘wholly collateral’ to

       CSRA’s review provisions” because they “invoke constitutional and

       administrative questions” about the agencies’ authority (or lack thereof)

       to dismantle themselves. (Id. at 20-21.) See Thunder Basin Coal Co. v.

       Reich, 510 U.S. 200, 212-13 (1994).




                                             17
Case: 25-1477   Document: 00118297250   Page: 20   Date Filed: 06/09/2025   Entry ID: 6727301




       B.   Defendants’ Actions Are Subject to Review Under the
            Administrative Procedure Act.

            A rational agency action must offer, at minimum, “genuine

       justifications for important decisions,” so that they “can be scrutinized by

       courts and the interested public.” Department of Com. v. New York, 588

       U.S. 752, 785 (2019). As the district court correctly found, defendants’

       implementation of the Reduction EO likely violated the APA because it

       (i) gutted the agencies without offering any reasoned explanation, and (ii)

       violated multiple federal statutes through which Congress allocated

       specific functions and funds to the agencies. (See Mem. at 31-39.) This

       “was not a close call.” (Order at 3.) Defendants do not defend these actions

       on the merits but contend that the actions should escape judicial review.

       Defendants waived these arguments by failing to make them in their stay

       motion before the district court, and the arguments are meritless in any

       event.

            First, defendants are wrong in comparing this suit to the kind of

       “programmatic” challenge dismissed by the Supreme Court in Lujan v.

       National Wildlife Federation, 497 U.S. 871 (1990). See Mot. at 10. This

       action properly challenges defendants’ “adoption of a discrete, categorical

       policy” implemented “across the board” at each agency, as the district

                                           18
Case: 25-1477   Document: 00118297250   Page: 21   Date Filed: 06/09/2025   Entry ID: 6727301




       court found. (Mem. at 22.) That policy sought to effectuate the Reduction

       EO through large-scale elimination of agency operations. Like in Somerville

       Public Schools, defendants here fail to explain why the relevant actions

       fail to constitute “discrete agency action under the cases that they cite.”

       2025 WL 1576570, at *6 (quotation marks omitted). Indeed, Lujan itself

       recognized that if an agency applied “some particular measure across the

       board,” then it could “of course be challenged under the APA.” 497 U.S.

       at 890 n.2. Although defendants argue that their implementation efforts

       “involve[d] countless operational decisions” (Mot. at 10), this Court has

       rejected “the proposition that the APA bars a plaintiff from challenging a

       number of discrete final agency actions all at once,” New York, 133 F.4th

       at 68.

            Second, defendants’ actions constituted “final agency action” subject

       to judicial review under the APA because they marked the “consummation

       of [defendants’] decisionmaking process” and produced “legal consequences”

       for the parties. Bennett v. Spear, 520 U.S. 154, 177-78 (1997) (quotation

       marks omitted). The unrefuted evidence established that defendants

       adopted policies to severely curtail the agencies’ operations by eliminat-

       ing staff and ending services. (Mem. at 23-26.) These sweeping actions


                                           19
Case: 25-1477   Document: 00118297250   Page: 22   Date Filed: 06/09/2025   Entry ID: 6727301




       had legal consequences for the States, which lost access to critical

       programs, grants, and services. (See id. at 26.) And it is undisputed that

       the challenged actions would leave the agencies unable to expend their

       statutory appropriations. Just as this Court found final agency action in

       funding freezes initiated across the federal government pursuant to an

       executive order, see New York, 133 F.4th at 68, so too here defendants’

       actions implementing the Reduction EO represent final agency action.

       Contra Mot. at 11.

            Contrary to defendants’ post hoc characterizations (id.), the

       challenged actions implementing the Reduction EO were unequivocal

       statements constituting final agency action. (See, e.g., ECF No. 35-5 at

       11 (“IMLS hereby terminates your grant in its entirety”); ECF No. 35-4

       at 4 (MBDA employee’s position “will be eliminated and you will be

       separated from the federal service”); ECF No. 1-4 at 2 (FMCS will not

       accept new public sector cases “[e]ffective [i]mmediately”).) Once an agency

       expresses a definitive position that compels conformance, it forfeits “the




                                           20
Case: 25-1477   Document: 00118297250    Page: 23   Date Filed: 06/09/2025   Entry ID: 6727301




       benefit of postponed judicial review.” Ciba-Geigy Corp. v. U.S. Env’t Prot.

       Agency, 801 F.2d 430, 436 (D.C. Cir. 1986).5

            Third, defendants argue for the first time in this stay motion that

       the district court should have analyzed plaintiffs’ APA claims as seeking

       to “compel agency action unlawfully withheld” (Mot. at 17 (quoting 5

       U.S.C. § 706(1))). See id. at 17-19. This Court should follow its “settled

       practice not to address previously unraised arguments absent the most

       extraordinary circumstances.” Somerville Pub. Schs., 2025 WL 1576570,

       at *6 (quotation marks omitted). In any event, defendants are incorrect.

       Plaintiffs’ APA claims are not limited to the agencies’ failure to perform

       statutorily mandated functions. (See Mem. at 31, 35-39.) Moreover,

       plaintiffs’ challenge is based on affirmative steps defendants took to

       implement the Reduction EO, not on subsequent omission of particular



            5 Defendants assert that certain grants were voluntarily restored

       before the preliminary injunction order was entered. Mot. at 11. Defendants
       fail to explain why these piecemeal actions justify a stay of the preliminary
       injunction in its entirety. “[A] defendant’s voluntary cessation of putatively
       illegal or unconstitutional conduct will not moot a case, unless the defendant
       meets the formidable burden of showing that it is absolutely clear the
       allegedly wrongful behavior could not reasonably be expected to recur.”
       In re Fin. Oversight & Mgmt. Bd., 16 F.4th 954, 961-62 (1st Cir. 2021)
       (quotation marks omitted). Defendants do not come close to meeting that
       burden here, even as to the grants that were restored.
                                            21
Case: 25-1477   Document: 00118297250   Page: 24   Date Filed: 06/09/2025   Entry ID: 6727301




       action. See Norton v. S. Utah Wilderness All., 542 U.S. 55, 62 (2004)

       (explaining the difference between “failure to act” and “denial”).

            Even if defendants were right that § 706(1) applied, the same result

       obtains. The district court identified multiple statutory commands that

       defendants’ actions likely violated, including each agency’s appropriations

       statutes. (See Mem. at 31-39.) Defendants have never attempted to argue

       otherwise—effectively conceding the unlawfulness of their actions. So,

       whether framed as a series of unlawful actions or unlawful failures to

       act, the district court was “empowered to order a remedy.” N.A.A.C.P. v.

       Secretary of Hous. & Urb. Dev., 817 F.2d 149, 161 (1st Cir. 1987).


       C.   Defendants’ Actions Are Likely Unconstitutional.

            The federal government has two elected branches: Congress, which

       “makes laws,” and the President, who “faithfully executes them.” Utility

       Air Regul. Grp. v. EPA, 573 U.S. 302, 327 (2014) (quotation and alteration

       marks omitted). The Constitution vests “[a]ll legislative Powers” in

       Congress. See U.S. Const. art. I, § 1. The executive branch has no authority

       to enact, amend, or repeal statutes, and under the Take Care Clause, the

       President must ensure that the laws are faithfully executed. See Clinton

       v. City of N.Y., 524 U.S. 417, 438 (1998). The President does not have—

                                           22
Case: 25-1477   Document: 00118297250   Page: 25   Date Filed: 06/09/2025   Entry ID: 6727301




       under the Constitution or otherwise—the power to disregard or act contrary

       to statutes, even in an emergency. Youngstown Sheet & Tube Co. v.

       Sawyer, 343 U.S. 579 (1952).

            Defendants wrongly contend that alleged statutory violations by

       the Executive cannot give rise to constitutional claims as a matter of law.

       See Mot. at 19. This argument—which plaintiffs failed to raise in their

       stay motion below and thereby forfeited, see New Jersey, 131 F.4th at 41-

       42—misreads Dalton v. Specter, 511 U.S. 462 (1994). The upshot of Dalton

       is this: when the President exercises discretion committed to him by

       statute, a claim that the President exceeded his statutory authority is not

       “ipso facto” a constitutional claim. Id. at 472-73. But here, defendants

       cannot have exceeded their statutory authority; they acted wholly without

       it. Plaintiffs’ claims thus turn on “whether the Constitution authorized

       [defendants’] actions.” Id. at 473. See Chamber of Com. v. Reich, 74 F.3d

       1322, 1332 (D.C. Cir. 1996) (distinguishing Dalton). As the district court

       properly concluded, defendants’ attempts to dismantle the agencies

       through executive fiat usurped Congress’s power to create and abolish

       federal agencies, disregarded funds that Congress appropriated, and

       failed to faithfully execute the laws Congress enacted. (Mem. at 39-40.)


                                           23
Case: 25-1477   Document: 00118297250   Page: 26   Date Filed: 06/09/2025   Entry ID: 6727301




          II.   DEFENDANTS HAVE NOT SHOWN IRREPARABLE INJURY

            Defendants fail to demonstrate that they are irreparably harmed

       by complying with the preliminary injunction order. Having argued that

       economic harm cannot establish irreparable injury in opposing a prelimi-

       nary injunction (Defs.’ Opp’n to Pls.’ Mot. for Emergency TRO at 32 (Apr.

       14, 2025), ECF No. 41), defendants now rely on economic harm to justify

       a stay of the preliminary injunction. But defendants cannot show “that

       the Executive Branch suffers irreparable harm by being required to carry

       out Congress’s duly enacted statutes.” Somerville Pub. Schs., 2025 WL

       1576570, at *7.

            Though defendants continue to speculate that they are “unlikely to

       recover” grant funds already disbursed (Mot. at 20 (quotation marks

       omitted)) if they ultimately prevail on appeal, their own evidence states

       that grant payments ultimately found to be unwarranted may be recovered

       through “debt collection procedures.” (See ECF No. 63-2 ¶ 12.) Regardless,

       this Court has rejected the same argument. See New York, 133 F.4th at

       72. And the en banc D.C. Circuit recently stayed an earlier panel decision

       that had credited the same argument defendants make here. See Middle

       E. Broad. Networks, Inc. v. United States, No. 25-5150, 2025 WL 1378735,


                                           24
Case: 25-1477   Document: 00118297250    Page: 27   Date Filed: 06/09/2025   Entry ID: 6727301




       at *1 (D.C. Cir. May 7, 2025); see Widakuswara, 2025 WL 1521355 (finding

       no irreparable harm where, as here, “the government has not contended

       that it will ultimately prevail in establishing an entitlement to th[e] funds”

       at issue).

             By contrast, the damage that defendants’ actions inflicted on

       plaintiffs was severe, widespread, and unrebutted. Plaintiffs’ preliminary

       injunction motion was supported by hundreds of pages of declarations

       detailing defendants’ efforts to incapacitate the agencies and the conse-

       quent harms plaintiffs experienced and would continue to experience

       absent injunctive relief. (See Mem. at 45.) Defendants submitted no

       evidence to rebut plaintiffs’ showing in the district court, and offer none

       here. Defendants do not contest that the mass firings rendered the federal

       agencies unable to properly function, which in turn threatened jobs,

       programs, and services in the States. The one-sided record of irreparable

       harm reinforces why a stay of the preliminary injunction is unwarranted.




                                            25
Case: 25-1477   Document: 00118297250   Page: 28   Date Filed: 06/09/2025   Entry ID: 6727301




         III.   THE REMAINING FACTORS WEIGH STRONGLY AGAINST A STAY

            Lastly, defendants fail to show that the balance of the equities and

       the public interest favor a stay. Defendants introduce new arguments

       based on declarations about the agencies’ operations (Mot. at 20), but

       such evidence was not presented to the district court during briefing on

       the preliminary injunction motion and any such arguments have therefore

       been waived. See New Jersey, 131 F.4th at 41-42.

            At any rate, as this Court recently observed, “‘there is generally no

       public interest in the perpetuation of unlawful agency action.’” Somerville

       Pub. Schs., 2025 WL 1576570, at *8 (quoting League of Women Voters v.

       Newby, 838 F.3d 1, 12 (D.C. Cir. 2016)). The public interest is particularly

       disserved by a stay here because defendants seek to resume unlawful

       actions they do not defend on the merits. Defendants’ repeated invocation

       of the executive branch’s “judgment” and “staffing decisions” (Mot. at 20)

       ignores the district court’s finding that defendants’ actions contravened

       multiple statutory and constitutional provisions, including the agencies’

       obligations to expend funds appropriated by Congress. (See Mem. at 2.)

            Moreover, a stay of the preliminary injunction would “substantially

       injure the other parties interested in the proceeding.” Nken, 556 U.S. at


                                           26
Case: 25-1477   Document: 00118297250   Page: 29   Date Filed: 06/09/2025   Entry ID: 6727301




       426; see Somerville Pub. Schs., 2025 WL 1576570, at *8. Plaintiff States

       rely on receiving direct funds and critical services from IMLS, MBDA,

       and FMCS. (Mem. at 29-31.) In Rhode Island, FMCS ensures labor peace

       in the healthcare industry (ECF No. 3-32 ¶ 10), and plaintiffs explained

       in their preliminary injunction motion that labor negotiations with Butler

       Hospital were “extremely likely to lead toward a strike without the

       benefit of FMCS mediation” (ECF No. 3-45 ¶ 14). That strike is now in

       full effect, illustrating the real-world consequences of unlawful agency

       action. The stay that defendants now seek would perpetuate the “plethora

       of injuries” to plaintiff States that the district court’s injunction sought

       to forestall. (Mem. at 46.)


                                     CONCLUSION

            The Court should deny a stay pending appeal.

       Dated: New York, New York
              June 9, 2025




                                           27
Case: 25-1477    Document: 00118297250          Page: 30     Date Filed: 06/09/2025   Entry ID: 6727301




                                                           Respectfully submitted,

       PETER F. NERONHA                                    LETITIA JAMES
       Attorney General of Rhode Island                    Attorney General of New York

       /s/ Natalya A. Buckler                              /s/ Kartik Naram       .
       KATHRYN M. SABATINI                                 BARBARA D. UNDERWOOD
        Chief, Civil Division                               Solicitor General
       Special Assistant Attorney General                  ESTER MURDUKHAYEVA
       KATHERINE CONNOLLY SADECK                            Deputy Solicitor General
        Solicitor General                                  KARTIK NARAM
       KEITH D. HOFFMANN                                    Assistant Solicitor General
        Chief of Policy                                    28 Liberty Street
        Assistant Attorney General                         New York, NY 10005
       NATALYA A. BUCKLER                                  (212) 416-6347
        Assistant Attorney General
       PAUL MEOSKY
       Special Assistant Attorney General
       150 South Main Street
       Providence, RI 02903

       ANNE E. LOPEZ
        Attorney General of Hawaiʻi

       /s/ Kalikoʻonālani D. Fernandes .
       DAVID D. DAY
        Special Assistant to
         the Attorney General
       KALIKOʻONĀLANI D. FERNANDES
        Solicitor General
       425 Queen Street
       Honolulu, HI 96813

       (Counsel listing continues on following page.)




                                                    28
Case: 25-1477   Document: 00118297250   Page: 31   Date Filed: 06/09/2025   Entry ID: 6727301




       KRISTIN K. MAYES                     WILLIAM TONG
       Attorney General of Arizona          Attorney General of Connecticut

       /s/ Syreeta A. Tyrell   .            /s/ Ashley Meskill .
       SYREETA A. TYRELL                    ASHLEY MESKILL
        Assistant Attorney General           Assistant Attorney General
       2005 North Central Avenue            165 Capitol Avenue
       Phoenix, AZ 85004                    Hartford, CT 06106
       ROB BONTA                            KATHLEEN JENNINGS
       Attorney General of California        Attorney General of Delaware

       /s/ Jay C. Russell .                 /s/ Vanessa L. Kassab .
       JAY C. RUSSELL                       IAN R. LISTON
        Deputy Attorney General              Director of Impact Litigation
       THOMAS S. PATTERSON                  VANESSA L. KASSAB
       Senior Assistant Attorney General     Deputy Attorney General
       ANYA M. BINSACCA                     820 North French Street
        Supervising Deputy                  Wilmington, DE 19801
          Attorney General
       ZELDA VASSAR
        Deputy Attorney General
       455 Golden Gate Avenue,
         Suite 11000
       San Francisco, CA 94102
       PHILIP J. WEISER                     KWAME RAOUL
        Attorney General of Colorado         Attorney General of Illinois

       /s/ David Moskowitz .                /s/ Holly F.B. Berlin .
       DAVID MOSKOWITZ                      HOLLY F.B. BERLIN
       Deputy Solicitor General              Assistant Attorney General
       1300 Broadway, #10                   115 South LaSalle Street
       Denver, CO 80203                     Chicago, IL 60603




                                           29
Case: 25-1477   Document: 00118297250   Page: 32   Date Filed: 06/09/2025   Entry ID: 6727301




       AARON M. FREY                        KEITH ELLISON
        Attorney General of Maine           Attorney General of Minnesota

       /s/ Vivian A. Mikhail .              /s/ Jacob Harris .
       Vivian A. Mikhail                    JACOB HARRIS
       Deputy Attorney General               Assistant Attorney General
       6 State House Station                445 Minnesota Street, Suite 600
       Augusta, ME 04333-0006               St. Paul, MN 55101

       ANTHONY G. BROWN                     AARON D. FORD
        Attorney General of Maryland         Attorney General of Nevada

       /s/ Keith M. Jamieson .              /s/ Heidi Parry Stern .
       JULIA DOYLE                          HEIDI PARRY STERN
        Solicitor General                    Solicitor General
       KEITH M. JAMIESON                    1 State of Nevada Way, Suite 100
        Assistant Attorney General          Las Vegas, NV 89119
       200 Saint Paul Place, 20th Floor
       Baltimore, MD 21202
       ANDREA JOY CAMPBELL               MATTHEW J. PLATKIN
       Attorney General of Massachusetts  Attorney General of New Jersey

       /s/ Katherine Dirks .                /s/ Joshua Bohn
       KATHERINE DIRKS                      JOSHUA BOHN
       Chief State Trial Counsel            MAX LESSER
       One Ashburton Place, 20th Floor       Deputy Attorneys General
       Boston, MA 02108                     25 Market Street
                                            Trenton, NJ 08625
       DANA NESSEL                          RAÚL TORREZ
       Attorney General for                  Attorney General of New Mexico
        People of Michigan

       /s/ Neil Giovanatti .                /s/ Anjana Samant .
       NEIL GIOVANATTI                      ANJANA SAMANT
       BREANNA LISTERMANN                   Deputy Counsel for
        Assistant Attorneys General           Impact Litigation
       525 West Ottawa                      P.O. Drawer 1508
       Lansing, MI 48909                    Santa Fe, NM 87504

                                           30
Case: 25-1477   Document: 00118297250   Page: 33   Date Filed: 06/09/2025   Entry ID: 6727301




       DAN RAYFIELD                         NICHOLAS W. BROWN
        Attorney General of Oregon           Attorney General of Washington

       /s/ Brian Simmonds Marshall          /s/ Kate S. Worthington .
       BRIAN SIMMONDS MARSHALL              KATE S. WORTHINGTON
       Senior Assistant Attorney General    SARAH E. SMITH-LEVY
       100 SW Market Street                  Assistant Attorneys General
       Portland, OR 97201                   7141 Cleanwater Drive SW
                                            P.O. Box 40111
                                            Olympia, WA 98504
       CHARITY R. CLARK                      JOSHUA L. KAUL
        Attorney General of Vermont           Attorney General of Wisconsin

       /s/ Ryan P. Kane .                   /s/ Colin T. Roth .
       RYAN P. KANE                         COLIN T. ROTH
        Deputy Solicitor General            Assistant Attorney General
       109 State Street                     P.O. Box 7857
       Montpelier, VT 05609                 Madison, WI 53707




                                           31
Case: 25-1477   Document: 00118297250   Page: 34   Date Filed: 06/09/2025       Entry ID: 6727301




                          CERTIFICATE OF COMPLIANCE

       Pursuant to Rules 27 and 32 of the Federal Rules of Appellate Procedure, Ava
       Mortier, an employee in the Office of the Attorney General of the State of
       New York, hereby certifies that according to the word count feature of the
       word processing program used to prepare this document, the document
       contains 5,200 words and complies with the typeface requirements and
       length limits of Rules 27(d) and 32(a)(5)-(6).


                                               . /s/ Ava Mortier            .
